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10
11
12                                        UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,                        No. 2:15-CR-0235-TLN

16                           Plaintiff,               STIPULATION AND ORDER

17             v.                                     Date: January 12, 2017
                                                      Time: 9:30 a.m.
18   DUMITRU MARTIN,                                  Hon. Troy L. Nunley, U.S. District Judge

19                           Defendant.

20
21             Defendant, DUMITRU MARTIN, by and through his attorneys, and plaintiff, UNITED
22   STATES OF AMERICA, by and through its counsel, hereby stipulate to extend the due date for
23   the filing of defendant’s motion for judgment of acquittal under Federal Rule of Criminal

24   Procedure 29(c) and/or motion for new trial under Federal Rule of Criminal Procedure 33 as

25   follows:

26             Defense motions for judgment of acquittal
               and/or a new trial due:                                    December 5, 2016
27
28             Government’s responses to motions due:                     December 19, 2016

     Stipulation and Order                              1
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1              Defense reply briefs due:                                     January 4, 2017

2
               Hearing on motions:                                           January 12, 2017, 9:30 a.m.
3
                Defense counsel have ordered the trial transcripts and this request is to give the defense
4
     additional time to review and prepare such motions.
5
6
               IT IS SO STIPULATED.
7
     Dated: October 11, 2016                                         Dated: October 11, 2016
8
9    PHILLIP A. TALBERT
     Acting United States Attorney
10
11   /s/ Michael Beckwith                                             /s/John Balazs
     MICHAEL BECKWITH                                                JOHN BALAZS
12   Assistant U.S. Attorney
13   Attorney for Plaintiff                                          Attorney for Defendant
     UNITED STATES OF AMERICA                                        DUMITRU MARTIN
14
15
                                                     ORDER
16
               IT IS SO ORDERED.
17
     Dated: October 11, 2016
18
19
                                                               Troy L. Nunley
20                                                             United States District Judge
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     Stipulation and Order                               2
